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                       KLAHOMA
                   State Courts Network

  The information on this page is NOT an official record. Do not rely on the correctness or completeness of
  this information. Verify all information with the official record keeper. The information contained in this report
  is provided in compliance with the Oklahoma Open Records Act, 51 O.S. 24A.1. Use of this information is
  governed by this act, as well as other applicable state and federal laws.

            IN THE DISTRICT COURT IN AND FOR TULSA COUNTY, OKLAHOMA

                                                                                 No. CJ-2017-2343
                                                                                 (Civil relief more than $10,000:
     TABITHA CATES,
                                                                                 DISCRIMINATION)
          Plaintiff,
    V.
                                                                                 Filed: 06/13/2017
     GAMESTOP INC,
              Defendant.

                                                                                 Judge: Nightingale, Rebecca B.


   PARTIES
  CATES, TABITHA, Plaintiff
  GAMESTOP INC, Defendant



   ATTORNEYS
   Attorney                                                                     Represented Parties
   SMOLEN, DANIEL E (Bar #19943)                                                CATES, TABITHA
   701 S. CINCINNATI
    TULSA, OK 74119




   EVENTS
    None


    ISSUES
   For cases filed before 1/1/2000, ancillary issues may not appear except in the docket.




   http://www.osen.net/dockets/GetCaseInformation.aspx?db=tulsa&number=0-2017-2343                                   7/10/2017
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   Issue #1.      Issue: DISCRIMINATION (DISCRIM)
                  Filed By: CATES, TABITHA
                  Filed Date: 06/13/2017

                  Party Name          Disposition Information
                  Defendant:
                  GAMESTOP INC


   DOCKET
   Date        Code         Description                             Count Party         Amount

  06-13-2017 TEXT          CIVIL RELIEF MORE THAN $10,000 INITIAL     1
                           FILING.

  06-13-2017 DISCRIM       DISCRIMINATION

  06-13-2017 DMFE          DISPUTE MEDIATION FEE                                           $ 7.00

  06-13-2017 PFE1          PETITION                                                     $ 163.00
                           Document Available (#1037240200) DTIFF
                              PDF

   06-13-2017 PFE7         LAW LIBRARY FEE                                                 $ 6.00

   06-13-2017 OCISR        OKLAHOMA COURT INFORMATION                                    $ 25.00
                           SYSTEM REVOLVING FUND

   06-13-2017 OCJC         OKLAHOMA COUNCIL ON JUDICIAL                                    $ 1.55
                           COMPLAINTS REVOLVING FUND

   06-13-2017 OCASA        OKLAHOMA COURT APPOINTED SPECIAL                                $ 5.00
                           ADVOCATES

   06-13-2017 SSFCHSCPC SHERIFF'S SERVICE FEE FOR                                        $ 10.00
                           COURTHOUSE SECURITY PER BOARD OF
                           COUNTY COMMISSIONER

   06-13-2017 CCADMINCSF COURT CLERK ADMINISTRATIVE FEE ON                                 $ 1,00
                           COURTHOUSE SECURITY PER BOARD OF
                           COUNTY COMMISSIONER

   06-13-2017 CCADMIN0155 COURT CLERK ADMINISTRATIVE FEE ON                                $ 0.16
                           $1.55 COLLECTION

   06-13-2017 SJFIS        STATE JUDICIAL REVOLVING FUND -                                 $ 0.45
                           INTERPRETER AND TRANSLATOR
                           SERVICES




  http ://www.oscn.net/dockets/GetCaseInformation.aspx?db=tulsa&numbet—CJ-2017-2343    7/10/2017
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   Date       Code          Description                             Count Party       Amount

   06-13-2017 DCADMIN155 DISTRICT COURT ADMINISTRATIVE FEE                               $ 0.23
                          ON $1,55 COLLECTIONS

   06-13-2017 DCADMINO5 DISTRICT COURT ADMINISTRATIVE FEE                                $ 0.75
                            ON $5 COLLECTIONS

   06-13-2017 DCADMINCSF DISTRICT COURT ADMINISTRATIVE FEE                               $ 1.50
                            ON COURTHOUSE SECURITY PER
                            BOARD OF COUNTY COMMISSIONER

   06-13-2017 CCADMINO4 COURT CLERK ADMINISTRATIVE FEE ON                                $ 0.50
                            COLLECTIONS

   06-13-2017 LTF           LENGTHY TRIAL FUND                                          $ 10.00

   06-13-2017 SMF           SUMMONS FEE (CLERKS FEE)                                    $ 10.00

   06-13-2017 SMIMA         SUMMONS ISSUED - MAILED BY
                            ATTORNEY

   06-13-2017 TEXT          OCIS HAS AUTOMATICALLY ASSIGNED
                            JUDGE NIGHTINGALE, REBECCA B. TO
                            THIS CASE.




   http://www.oscn.net/dockets/GetCaseinformation.aspx?db—tulsa&number—CJ-2017-2343   7/10/2017
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   Date       Code          Description                              Count Party        Amount
  06-13-2017 ACCOUNT       RECEIPT # 2017-3579942 ON 06/13/2017.
                           PAYOR: SMOLEN SMOLEN & ROYTMAN
                           PLLC TOTAL AMOUNT PAID: $ 242.14.
                           LINE ITEMS:
                           CJ-2017-2343: $173,00 ON AC01 CLERK
                           FEES.
                           CJ-2017-2343: $6.00 ON AC23 LAW
                           LIBRARY FEE CIVIL AND CRIMINAL.
                           CJ-2017-2343: $1.66 ON AC31 COURT
                           CLERK REVOLVING FUND.
                           CJ-2017-2343: $5.00 ON AC58 OKLAHOMA
                           COURT APPOINTED SPECIAL
                           ADVOCATES,
                           CJ-2017-2343: $1.55 ON AC59 COUNCIL
                           ON JUDICIAL COMPLAINTS REVOLVING
                           FUND.
                           CJ-2017-2343: $7,00 ON AC64 DISPUTE
                           MEDIATION FEES CIVIL ONLY.
                           CJ-2017-2343: $0.45 ON AC65 STATE
                           JUDICIAL REVOLVING FUND,
                           INTERPRETER SVCS.
                           CJ-2017-2343: $2.48 ON AC67 DISTRICT
                           COURT REVOLVING FUND.
                           CJ-2017-2343: $25.00 ON AC79 OCIS
                           REVOLVING FUND.
                           CJ-2017-2343: $10.00 ON AC81 LENGTHY
                           TRIAL FUND.
                           CJ-2017-2343: $10.00 ON AC88 SHERIFF'S
                           SERVICE FEE FOR COURT HOUSE
                           SECURITY.

   06-22-2017 S            PARTY HAS BEEN SUCCESSFULLY                     GAMESTOP
                           SERVED/ SUMMONS CERTIFIED MAIL TO               INC
                           GAMESTOP INC / ON 6-19-17 / SIGNED
                           ADELIA UHACK
                           Document Available (#1037398859) IDTIFF
                              PDF




  http://www.oscn.net/clockets/GetCaseinformation.aspx?db—tulsa&number—CJ-2017-2343    7/10/2017
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                              •                                         OFDISVIE kietio2 4 0 2 0 a*
                    IN THE DISTRICT COURT OF TULSA COUNTVIN 1 3 2017
                              STATE OF OKLAHOMA
                                                     DON NEWBERRY, Court Clerk
                                                     STATE OF OKLA, TULSA COUNTY
        TABITHA CATES,                  )
                                        )

                                               c4 . 201.70,02343
                  Plaintiff,

        vs.
                                                     )
        GAMESTOP, INC., a Foreign For Profit         )       Attorney Lien Claimed
        Business Corporation,                        )
                                                     )           Rebecca Brett Nightingale
                       Defendant.                    )

                                               PETITION

               COMES NOW the Plaintiff, Tabitha Cates, by and through her attorneys of

        record, Daniel E. Smolen and Lauren G. Lambright, of SMOLEN, SMOLEN & ROYTMAN,

        PLLC, and brings this action against the Defendant, GAMESTOP, INC. for violations of

        her constitutionally protected rights arising out of her employment by said Defendant.

                              PARTIES, JURISDICTION AND VENUE

        1.     Plaintiff is a citizen of the United States of America and a resident of the State of

        Oklahoma,

        2.     Defendant, GAMESTOP, INC. (hereinafter "Gamestop"), is foreign for profit

        business corporation that conducts regular business in Tulsa County and regularly

        employs more than fifteen (15) people.

        3.     This is an action for damages and to secure protection of and to redress
                                                                                                       r
        deprivation of rights secured by Title VII of the Civil Rights act of 1964, as amended 42

        U.S.0 §2000-2 hereinafter ("Title VII"), providing for relief against discrimination in

        employment, retaliation and wrongful termination on the basis of gender.




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                              •                                         •
        4.     Plaintiff filed a charge of discrimination against the Defendant with the Equal

        Employment Opportunity Commission ("EEOC") complaining of discrimination,

        retaliation and termination due to her gender. A Notice of Right to Sue was received by

        the Plaintiff and this Petition has been filed within ninety days (90) of the receipt of the

        Notice of Right to Sue. As such, the Plaintiff has complied fully with all exhaustion

        prerequisites required under Title VII.

        5.     Jurisdiction of the Court is proper under 25 O.S. 1301 et seq and § 706(f)(3) of

        Title VII, 42 U.S.C. §2000e-5(t)(3). In addition, jurisdiction of this Court is invoked

        pursuant to 28 U.S.C. § 1331 (federal question), 28 U.S.C. §1343 (Civil Rights), and 28

        U.S.C. § 1337 (Acts of Congress regulating commerce).

        6.     Compensatory damages are sought pursuant to 42 U.S.C. § 2000e-5(g).

        7.     Costs and attorney's fees may be awarded pursuant to 42 U.S.C. § 2000e 5(g).

        8.     Punitive damages are sought pursuant to 42 U.S.C. § 2000e-5(g).

        9.     This action lies properly in Tulsa County because the Defendant conducts regular

        business in Tulsa County.

                                FACTS COMMON TO ALL CLAIMS

        10.    Plaintiff, Tabitha Cates, incorporates as if realleged Paragraphs 1-9.

        11.    The Plaintiff is a female.

        12.      The Plaintiff began employment with the Defendant in June 2002 and worked

        there for approximately thirteen (13) years.

        13.      The Plaintiff was hired as a game advisor and worked her way up through the

        ranks to become a store manager mentor, which was a stepping stone position to promote

        into upper management positions within the company.




                                                       2




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                                                                      •
        14.      The Plaintiff received positive performance reviews throughout her

        employment, including during her time employed as a Sales Manager Mentor.

        15.      Despite her performance, the Plaintiff experienced discrimination based upon

        her gender from fellow Store Managers and Store Leaders who were male and from her

        supervisor, David McCugh.

        16.      During her employment, around July 2015, the Plaintiff was told that a male

        store leader, Andrew Aukerman, was going to try and get her fired for alleged time clock

        fraud. The Plaintiff felt this threat was based upon her gender as Mr. Aukerman made

        comments to her in the past that he felt female managers were hard to work with because

        they cry too much. The Plaintiff had actually been assigned as Mr. Aukerman's mentor

        and so this statement was especially offensive.

        17.      Shortly thereafter, the Plaintiff was called to a meeting with her supervisor,

        David McCugh, and was questioned about her time, including where she was on certain

        dates and what she was doing. After successfully establishing that she did not, and would

        never, steal company time, she informed David of the threatening statements made by

        Mr. Aukerman and ask that he investigate them.

        18.      The Plaintiff spoke to David McCugh again on August 17, 2015 stating she felt

        like she was in a hostile situation with her mentee and that she was uncomfortable

        providing mentor support for a person creating a hostile work environment for her based

        on her gender.

        19.      Soon thereafter, the Plaintiff was issued a formal coaching for the time clock

        complaint described above. During that meeting, Mr. McCue told her that her behavior




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                               •                                       •
         was "flighty" and that she was "overreacting." He also suggested that Plaintiff leave the

         mentoring program.

         20,      On October 28, 2015 the Plaintiff received a sexually harassing telephone call

         when answering the phone at work. The Plaintiff reported it and nothing was done.

         21.      Just two days later, the Plaintiff was called to meet with David McCugh and

         issued a second coaching on October 30, 2015. During the meeting, she was accused of

         not performing her duties as a Store Manager Mentor and her title as Mentor was

         removed. Mr. McCugh accused Plaintiff of not complying with the working requirements

         which dictates that Store Managers close at least one weekend night every week. The

         Plaintiff explained that she had her schedule approved by Mr. McCugh two years earlier

         and had not worked those hours since that time. He claimed not to remember allowing

         her a more flexible work schedule despite the fact that flexibility for her family was the

         entire reason she approached Mr. McCugh two years prior to request a transfer to a

         GameStop location closer to her home and to not close on weekends. The Plaintiff asked

         Mr. McCugh again to look into the first coaching/time clock issue as she wanted it

         removed.

         22.        During that same meeting with David McCue, a supposed mediator was present

         to discuss her complaints. During the "mediation," the Plaintiff was told that David felt

         she was "disengaged with her job" because her husband was about to finish medical

         school and she was allegedly "looking forward to the opportunities that would bring."

         The Plaintiff confirmed she was fully committed to her career and had been with the

         company for thirteen years. The Plaintiff voiced her concern that she did not feel her

         complaints were being taken seriously and the meeting was ended with a comment from




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                                                                       •
        the mediator that she should "smile more" and that when she smiled she is "the most

        beautiful woman in the world."

        23.      The Plaintiff is aware of male Store Managers who are afforded flexible

        schedules and/or who are not held to the same standards as the Plaintiff, specifically

        Andrew Aukerman, Ramiro Santos, Robert Jameson, Shaun Owens, Mat McKay and

        Jesse Moss.

                 The Plaintiff filed an internal complaint of gender discrimination and hostile

        work environment, and objected to the coaching/disciplinary actions she received.

        25.      Shortly after she complained of gender discrimination and a hostile work

        environment, through the GameStop Cares internal HR process in February 2016,

        Defendant terminated the Plaintiff's employment on April 17, 2016.

        26.      The Plaintiff believes she was treated disparately and terminated from

        employment based on her gender and in retaliation for her complaints about the

        discrimination and hostile work environment.

                              FIRST CLAIM FOR RELIEF:
                   GENDER DISCRIMINATION IN VIOLATION OF TITLE VII


        27.    Plaintiff, Danielle Berry, incorporates as if realleged Paragraphs 1-26.

        28.    By holding the Plaintiff to different standards of employment, issuing disparate

        discipline, and terminating the Plaintiff based upon her gender, Defendant has violated

        Title VII of the Civil Rights Act of 1964.

        WHEREFORE, Plaintiff prays for judgment against the Defendant for:

        a. Back pay and lost benefits; front pay until normal retirement
        b. Compensatory damages for her mental anguish, pain and suffering and
        other non-pecuniary losses;
        c. Punitive damages for the intentional and knowing acts of discrimination



                                                     5




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                               •                                           •
         committed by the Defendant's management and executives;
         d. Her attorney fees and the costs and expenses of this action;
         e. Such other relief as the Court deems just and equitable.


                                 SECOND CLAIM FOR RELIEF:
                            RETALIATION IN VIOLATION OF TITLE VII


         29.     Plaintiff incorporates as if realleged Paragraphs 1-28.

         30.     By terminating the Plaintiff's employment shortly after she engaged in protected

         opposition to discrimination, Defendant has violated Title VII of the Civil Rights Act of

         1964.

         WHEREFORE, Plaintiff prays for judgment against the Defendant for:

         a. Back pay and lost benefits; front pay until normal retirement
         b. Compensatory damages for her mental anguish, pain and suffering and
         other non-pecuniary losses;
         c. Punitive damages for the intentional and knowing acts of discrimination
         committed by the Defendant's management and executives;
         d. Her attorney fees and the costs and expenses of this action;
         e. Such other relief as the Court deems just and equitable.


                                THIRD CLAIM FOR RELIEF:
                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

         31.     Plaintiff incorporates as if realleged Paragraphs 1-30.

         32.     The Defendant's actions of intentional and malicious discrimination are extreme

         and outrageous and have caused severe emotional and psychological damage to the

         Plaintiff.

         WHEREFORE, Plaintiff prays for judgment against the Defendant for:

         a. Back pay and lost benefits; front pay until normal retirement
         b. Compensatory damages for her mental anguish, pain and suffering and
         other non-pecuniary losses;
         c. Punitive damages for the intentional and knowing acts of discrimination
         committed by the Defendant's management and executives;



                                                       6




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                               •
         d, Her attorney fees and the costs and expenses of this action;
         e. Such other relief as the Court deems just and equitable.

                                          PRAYER FOR RELIEF

                WHEREFORE, based on the foregoing, Plaintiff prays that this Court grant her

         the relief sought including, but not limited to, actual damages in excess of Seventy-Five

         Thousand Dollars ($75,000), with interest accruing from date of filing of suit, punitive

         damages in excess of Seventy-Five Thousand Dollars ($75,000), back pay and lost

         benefits. compensatory damages for mental anguish, pain and suffering and other non-

         pecuniary loss, equitable relief including reinstatement, reasonable attorney's fees,

         injunctive relief, and all other relief deemed appropriate by this Court.




                                                       Respectfully submitted,
                                                       SMOLEN, SMOLEN & ROYTMAN
                                                       P.L.L.C.



                                                       Daniel E.
                                                       Lauren G Lambright, OBA# 22300
                                                       701 South Cincinnati Avenue
                                                       Tulsa, OK 74119
                                                       P: (918) 585-2667
                                                       F: (918) 585-2669
                                                       Attorneys for Plaintiff




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                             IN THE DISTRICT COURT OF TULSA COUNTY                          111 II 1 IN
                                                                                           ,0 37398859*
                                       STATE OF OKLAHOMA

      TABITHA CATES,



      VS.
                      Plaintiff,
                                                  Ftf i.2017-0234$
                                                    )
      GAMESTOP, INC., a Foreign For Profit          )      Attorney Lien Claimed
      Business Corporation,                         )
                                                    )                     Aebecca Brett Nightingale
                      Defendant.                    )

                                            ORIGINAL SUMMONS

      SERVE BY U.S. CERTIFIED MAIL, RETURN RECEIPT REQUFATED
                                                       1...viiSTRIT COURT
           Gamegop, Inc.
           c/o The Corporation Company
                                                            JUN 2 2 71117
           1833"S Morgan Rd.
           Oklaltbma City, OK 73128                   DON NEIV8ERRY,
                                                     STATE OF OKLA.  Court Clerk
                                                                                        TULSA COUNTY
      To the aboVt-named Defendant(s)

              YOd have been sued by the above named plaintiff(s), and you are directed to file a written
      answer to the attached petition and order in the court at the above address within twenty (20) days
      after service of this summons upon you exclusive of the day of service. Within the same time, a
      copy of your answer must be delivered or mailed to the attorney for the plaintiff. Unless you answer
      the petition within the time stated judgment will be rendered against you with costs of the action.

               Issued this   /Y    day of                        , 2017   DON NEWBERRY, Court Clerk
                                                            County CCCoou
                                                                       urrtt Clerk

                                                    By
                                                              eputy Court Clerk
      (Seal)
               This summons and order was served on


                                                            (Signature of person serving summons)

            YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER
      CONNECTED WITH THIS SUIT OR YOUR ANSWER. SUCH ATTORNEY SHOULD BE
      CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE
      TIME LIMIT STATED IN THIS SUMMONS.
                               Return ORIGINAL for filing.
                                 PERSONAL SERVICE




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       I certify that I received the foregoing Summons the         day of           , 2017, and that I
     ,„delivered a copy of said Summons with a copy of the Petition to the following named defendant
      personally in                     County,                            at the address and on the
      date set forth opposite each name, to-wit:

               Name of Defendant                                   Address                                          Date of Service


                                       USUAL PLACE OF RESIDENCE
       I certify that I received the foregoing Summons on the             day of          , 2017, and that on
                     , I served                                       by leaving a copy of said summons
      with a copy of the attached Petition at
      which is his/her dwelling house or usual place of abode, with
                                             , a person then residing therein, who is fifteen (15) years of
      age or older.
                                                   NOT FOUND
       Received_this Summons this                  day of            , 2017. I certify that the following
      persons o
                   SENDER: COMPLI I            I Hin   I OP,                                                        DELIVERY

                   IN   Complete items 1, 2, and 3..                         A Sig ture
                                                                                                                                El Agent
      Fee for s( IN so
                    Print your name and address on the reverse               X                                                  0 Addressee
                       that we can return the card to you,
      Total      • Attach this card to the back of the maliplece,                                                         C. Date of Delivery
       Dated ti or on the front If space permits.
                   1. Article Addriessed to:                                 D. Is delivery address • rfferent from item            0 1_

                    Gamestop, Inc.                                               If YES, enter delivery address below:         Li No

                    c/a The CorporatioW                   an:
                    1833 S Morgan Rd.
                    Oklahoma City, OK:7
      Sum-Mori                                                                                                                                      his
                                                                           3. Service Type


                                                               14Ill
                                                                                                                     0 Priority Mel Express®
      affidavit
                        " Fot(1,P21.1
                                                                           C3 Adult Signature                        0 Registered Mani
                                                                           0        Signature Restricted Delivery    o R Interred Mall Restricted
                                                                                   ;ad Mail®                                 ery
                                                                       4      Sarktfled Mail Restricted Delivery             m Receipt for
                                                                           0 Collect on Delivery                          archandise
      subscrit 2. Article Number (Thansfer from service label)             CI Collect on Delivery Restricted Deli
                                                                           rl
                                                                                                                     0 Signature ConfIrmationTM
                                                                                                                     0 Signature Confirmation
                                                                                      Mail
                                                                                        tel Restricted Delivery        Restricted Delivery
      My Com _ 7016 2710 0000 0838 1341
                  PS Form 3811, July 2015 Pal 7530-02-000-9053                                                      Domestic Return Receipt


                                  CERTIFICATE OF SERVICE BY MAIL
       1 certify that I mailed copies of the foregoing summons with a copy of the Petition to the
      following named defe nt at the ad ess shown by certified mail, addressee only, return receipt
      requested, on the           ay of                  2017, and receipt thereof on the dates shown:

             Defendant
      Receipted
                                                       Address Where Sery
                                                       a'5_3 Si
                                                                                                                                 Date
                                                                                                                                            (Of h
                                                        Olt e/                   igns ture of person mailing summons




                                                               EXHIBIT 1
